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12   Charles Lu, and Nathan McCarty
13
14                               UNITED STATES DISTRICT COURT

15                            NORTHERN DISTRICT OF CALIFORNIA

16
17   TEMUJIN LABS INC., a Delaware                  CASE NO. 4:21-cv-09152-JST
     corporation, and TEMUJIN LABS INC., a
18   Cayman Islands corporation                     NOTICE OF RELATED CASE AND
                                                    PENDENCY OF OTHER ACTION OR
19                     Plaintiffs,                  PROCEEDING

20          vs.                                     [N.D. Cal. Civil Local Rules 3-12; 3-13]

21   TRANSLUCENCE RESEARCH, INC., a                 Courtroom:     Courtroom 6 - 2nd Floor
     Delaware corporation, BENJAMIN FISCH,          Judge:         Hon. Jon S. Tigar
22   CHARLES LU, BENEDIKT BÜNZ,
     NATHAN MCCARTY, FERNANDO                       Complaint Filed:    November 24, 2021
23   KRELL, PHILIPPE CAMACHO CORTINA,
     BINYI CHEN, AND LUOYUAN (ALEX)
24   XIONG, and DOES 1-20,

25                     Defendants.

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                                                                  DEF’S NOTICE OF RELATED CASE
                                                                 AND PENDENCY OF OTHER ACTION
                                                                       CASE NO. 4:21-CV-09152-JST
 1           Pursuant to Northern District of California Civil Local Rules 3-12 and 3-13, Defendants
 2   Translucence Research, Inc., Benjamin Fisch, Charles Lu, and Nathan McCarty (collectively,
 3   “Defendants”) hereby give notice of the pendency of the following two related actions:
 4   (1) Temujin Labs Inc., et al. v. Abittan, et al., Superior Court of California, Santa Clara County,
 5   Case No. 20CV372622 (filed Nov. 6, 2020) (“Original Santa Clara Action”); and (2) Temujin
 6   Labs Inc., et al. v. Translucence Research, Inc., et al., Superior Court of California, San Francisco
 7   County, Case No. CGC-21-596745 (filed Nov. 19, 2021) (“SF Action”). In addition, the
 8   following action also involves similar subject matter and parties as the following case: Abittan v.
 9   Chao, et al., Case No. 5:20-cv-09340 (filed Dec. 24, 2020 in the San Jose Division) (“Abittan
10   Action”). 1
11           Over a year prior to initiating this action, on November 6, 2020, the Original Santa Clara
12   Action was filed by plaintiff Temujin Labs Inc. (“Temujin DE”) against two of the Defendants
13   here (Benjamin Fisch and Charles Lu), as well as a third individual (Ariel Abittan) for various
14   causes of action including civil conspiracy, tortious interference, breach of contract, and
15   misappropriation of trade secrets related to the development of a blockchain-based financial
16   technology referred to as “Findora.” A copy of that complaint is attached hereto as Exhibit 1.
17   Two months after this action was filed, on January 21, 2022, Temujin DE and its parent entity
18   Temujin Labs Inc. (Cayman) (“Temujin Cayman”) (collectively Temujin DE and Temujin
19   Cayman are referred to as “Plaintiffs”) then filed a First Amended Complaint in that case in
20   response to a pending demurrer that contains virtually identical allegations as those made in the
21   initial complaint. In the Original Santa Clara Action, Plaintiffs allege, among other things, that
22   the defendants have misappropriated Findora source code and technology, and have otherwise
23   interfered with Plaintiffs’ business and relationships.
24
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       Although Plaintiffs filed a “Notice of Related Case” in the Original Santa Clara Action
25   identifying the Abittan Action as related to that case, they have inexplicably failed to file any
     Notice of Related Case or Notice of Pendency of Other Action in this action or the SF Action yet.
26   On January 6, 2022, counsel for Defendants sent a letter to Plaintiffs’ counsel noting that Plaintiffs
     had not complied with their obligations to alert any of the involved courts of the existence of the
27   other actions. Although Defendants have patiently waited for Plaintiffs to comply with their duties
     to the courts, as of the filing of this Notice, Plaintiffs have still failed to file notices with any of the
28   courts.
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                                                                           DEF’S NOTICE OF RELATED CASE
                                                                          AND PENDENCY OF OTHER ACTION
                                                                                CASE NO. 4:21-CV-09152-JST
 1          The SF Action and this action were then both filed by the Plaintiffs against Messrs. Fisch
 2   and Lu, as well as a number of other defendants. First, on November 19, 2021, and in a
 3   transparent attempt to forum shop their claims, Plaintiffs filed the SF Action claiming that the
 4   defendants in that case misappropriated Findora source code and technology, and otherwise
 5   interfered with Plaintiffs’ business and relationships. 2 A copy of that complaint is attached hereto
 6   as Exhibit 2. Next, apparently unsatisfied with their second choice court, on November 24, 2021,
 7   Plaintiffs then filed the present action against the same group of defendants as the SF Action with
 8   virtually identical allegations as those made in the SF Action. Compare Complaint (Dkt. No. 1)
 9   Nature of Case, ¶¶ 23-26, 27-34, 35-43, 44-47, 48-50, 51-57 with Ex. 2 Nature of Case, ¶¶ 16-19,
10   20-27, 28-35, 36-39, 40-42, 43-49.
11          The present action, SF Action, and Original Santa Clara Action make similar allegations
12   to one another (and, in the case of the SF Action and this action complaints, are basically identical
13   carbon copies). Compare Ex. 1 with Ex. 2 with Complaint (Dkt. No. 1). Under Local Rule 3-13,
14   the three actions all involve substantially the same subject matter and same parties. Indeed, all
15   three proceedings arise out of the same facts, seek the same remedies, involve substantially the
16   same parties, and require adjudication of overlapping legal claims including trade secret
17   misappropriation, tortious interference with relations, and civil conspiracy. All three complaints
18   are premised on allegations that Defendants and others spread false information, unlawfully
19   downloaded and removed electronic information belonging to Plaintiffs, and disrupted
20   relationships between Plaintiffs and others. Accordingly, it is likely there will be an unduly
21   burdensome duplication of labor and expense, as well as conflicting results if the cases are
22   conducted before different courts. 3
23   ///
24   2
       The SF Action was dismissed without prejudice on December 23, 2021.
25   3
       Defendants will be filing a motion to dismiss all claims in the present action, or in the alternative,
     to stay this action while the pending proceedings in the Original Santa Clara Action are resolved.
26   Among the many reasons for dismissal is the fact that Plaintiffs have blatantly attempted to forum
     shop by filing virtually identical claims against substantially the same parties in three different
27   actions. Should Defendants not prevail on their motion to dismiss/stay, they request that this Court
     issue appropriate orders to coordinate the cases to avoid conflicts, conserve resources, and promote
28   an efficient determination of the action.
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                                                                        DEF’S NOTICE OF RELATED CASE
                                                                       AND PENDENCY OF OTHER ACTION
                                                                             CASE NO. 4:21-CV-09152-JST
 1   DATED: March 17, 2022   PAUL HASTINGS LLP
 2
 3                           By: /s/ Edward Han
                                                   EDWARD HAN
 4
                             Attorneys for Defendants
 5                           Translucence Research, Inc., Benjamin Fisch,
                             Charles Lu, and Nathan McCarty
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                                                     DEF’S NOTICE OF RELATED CASE
                                                    AND PENDENCY OF OTHER ACTION
                                                          CASE NO. 4:21-CV-09152-JST
